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Your Honour,

My name is Cherepkova Anna, I'm a family friend and mother of two wonderful children. | want

to tell you about Viadisiav Klushin, how | see him as the best father and family man I've ever
met.

Viadislav is the best and responsible father around people | know. He never missed a Single
family gathering nor his children or friends’ birtinday

As a farter of five, he took pari in preparations of every of his child's birthday parties. He comes
up with competitions and activities, makes up time plan for events. Also he decorated the house
lor the party. His passion with his kids speaks about him as a reasonable and wise man. His
conversations with children helped them through life a lot. Considering the tough life of a
teenagers in our social media era, he always found right words to call everyone down and
resolve teenage problems.

Viadislav is a pet- lover, His favourite pet is a dog, they used ti spent all free time together

Viadisiav is also en eco- activist, 5 years ago we planted several spruces in the yard, now we

decorate them for Christmas. My kids grew up and we remember how we planted these trees
every year

i'm a volunteer in orohan’s house, bul! asked Vladislav to keep that in secret. And he did.
although, he helped me with volunteering a lot. He never shared it with anyone, never shared
his help and his empathy. He said that only our actions matter, not our words

Viadislav is a Caring son, treats his mother with respect and love. | love his childhood stories,
they are adorable. His big love for family is embed by his mother

Your Honour, maybe this characteristic will help you to know Vladislav better as a person. He Is
the most humbie, decent man I've ever knew.

He cares about people's lives around him. He is a law abiding citizen.

With all respect,

Anna Chereokova, Viadislav Klushin’ friend

 
